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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

FSR, INC.,

                              Plaintiff,

             v.                                                       ORDER

KORSAIR HOLDINGS, A.G.,                                         18 Civ. 11393 (ER)

                              Defendant.


JEC CONSULTING ASSOCIATES, LLC,

                  Third-Party Plaintiff/Intervenor,

             v.

UNITED HEALTH PRODUCTS, INC., formerly
known as UNITED ECOENERGY CORP., and
DOUGLAS K. BEPLATE,

                   Third- Party Defendants.




RAMOS, D.J.

        On December 6, 2018, FSR, Inc. (“FSR”) brought this securities action against Korsair

Holdings, A.G. (“Korsair”). Doc. 1. On March 14, 2019, JEC Consulting Associates, LLC

(“JEC”) moved to intervene. Doc. 18. On March 30, 2020, this Court granted FSR default

judgment against Korsair, but denied FSR and JEC declaratory relief. Doc. 63. On May 20, JEC

informed the Court that it had requested a no action letter from the Securities and Exchange

Commission (“SEC”). Doc. 65. At a conference held on June 5, the Court directed JEC to

inform the Court of the SEC’s response. Doc. 68 at 9. On September 30, JEC informed the

Court that the SEC had not yet responded. Doc. 70.
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       JEC is therefore directed to submit a status report by December 30, 2020 and every three

months thereafter. Failure to comply with the Court’s order could result in sanctions, including

dismissal for failure to prosecute. Fed. R. Civ. P. 41(b).

       It is SO ORDERED.

Dated: November 5, 2020
       New York, New York

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                                                               Edgardo Ramos, U.S.D.J.




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